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                  EXHIBIT A
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Rimini Street files countersuit against Oracle
BusinessWeek/IDG
By Chris Kanaracus
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Oracle on Monday was hit with a counterclaim by Rimini Street, the third-party software
maintenance provider it sued in January over alleged intellectual property violations.

Oracle's suit is groundless, anticompetitive and disparaging, Rimini Street said in the
response filed Monday in U.S. District Court for the District of Nevada.

Rimini Street provides support for SAP and Oracle applications, pledging that customers
will save at least 50 percent off their vendor-provided support bills. While third-party
support means customers don't receive product upgrades, Rimini Street caters to
companies with stable legacy systems and no immediate desire for updates.

Vendors fiercely covet annual software maintenance revenues, which are charged as a
percentage of a customer's license fees and provide steady income even when new
business is harder to find. "Software license updates and product support" accounted for
51 percent of Oracle's total revenue in its most recent quarter, generating US$3.3 billion
against just $281 million in operating expenses, for a profit margin north of 90 percent.

Oracle's suit against Rimini Street followed a similar one it filed in 2007 against SAP and
its former subsidiary, TomorrowNow, which also offered third-party support for Oracle
applications. TomorrowNow workers illegally downloaded software from Oracle's
support systems, according to Oracle. SAP has said the employees were authorized to
download the materials on behalf of TomorrowNow customers, but also that some
"inappropriate downloads" had occurred.

Rimini Street CEO Seth Ravin was a founder of TomorrowNow. Oracle has alleged
Rimini Street amounts to a redux of TomorrowNow's "corrupt" business model.

Rimini Street "typically logs on to Oracle's password protected Technical Support
websites using a customer credential, then downloads Software and Support Materials in
excess of the customer's authorization under its license agreement," according to
Oracle's suit.

The company then uses automatic crawling tools to download Oracle materials "in
intentional violation of Oracle's Technical Support website Terms of Use," the complaint
states. "These intrusions have damaged Oracle's support services by causing the
databases which host the Software and Support Materials to freeze, disrupting their
operation and impeding the availability of lawful downloads to Oracle's other
customers."

Rimini Street's answer and counterclaim denies wrongdoing on its part.

"Oracle had full knowledge that Rimini Street's actions were authorized by Oracle's
customers," it states. "Far from acting as 'fraudulent thieves,' Rimini Street has acted
legally, openly (and often with Oracle's full cooperation)." In addition, Oracle has been
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unresponsive to invitations to discuss Rimini's business practices or have them
independently vetted, the filing alleges.

Rimini Street also takes "extraordinary efforts ... to ensure that Oracle's intellectual
property rights are respected," whereas Oracle has conducted a "systematic campaign"
against Rimini, including a series of "hostile" letters, the filing states.

"Over the years, Rimini Street responded to each Oracle letter, explained the
appropriateness of Rimini Street's practices and procedures, and repeatedly offered to
meet and discuss any questions or concerns Oracle might have about Rimini Street's
processes and procedures," it states.

Rimini admitted it has used automated downloading tools, but said they were necessary
"because Oracle refused to help its customers identify and take delivery of such large
volumes of materials."

In June 2007, Oracle changed the terms and conditions on its Web site, disallowing the
use of such tools, according to Rimini Street. This action was anticompetitive and in
violation of Oracle's customers' contractual rights, the filing states.

"Oracle's efforts escalated in December 2008 when Oracle began interfering with Rimini
Street's performance of an authorized download for a large client switching from Oracle
to Rimini Street support by blocking Rimini Street access to the Oracle support
websites," it adds. Oracle relented after appeals from Rimini and the customer,
according to the filing.

As "a good-faith attempt at conflict reduction," Rimini agreed to stop using automated
download tools in January 2009, telling Oracle of its decision the following month.

Rimini Street also spoke with Oracle representatives in February 2009 and offered to
share internal information with the vendor "and/or to work out an agreement that would
utilize an independent third party auditor reporting back to both parties to confirm
Rimini Street's compliance with its standard processes and procedures," the filing states.

Oracle did not respond to Rimini Street's proposals, and subsequently filed suit, it adds.

"Oracle has had unlimited opportunities over nearly five years to dialogue and work
directly with Rimini Street ... but, as the facts demonstrate, that is not Oracle's objective.
Instead, Oracle's goal is to forestall after-market product support competition," the filing
states.

Oracle "is committed to customer choice and vigorous competition, but draws the line
with any company, big or small, that steals its intellectual property," company
spokeswoman Deborah Hellinger said via e-mail. "The massive theft that Rimini and Mr.
Ravin engaged in is not healthy competition. We will prove this in court."
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Privately held Rimini Street says revenue grew 270 percent year-over-year in 2009, and
that it now has nearly 300 clients, 160 employees and $150 million in "sales backlog." In
addition, it claims a 95 percent annual renewal rate.

In an interview, Ravin equated third-party software maintenance to independent oil
change shops, saying the same rights consumers have to take their cars to places besides
the original dealer apply to his own business.

Oracle's suit has put a slight damper on sales, according to Ravin.

"We continued to close business, including some of the largest deals ever," since the suit
was filed, he said. "[But] I think we had a few deals that have not moved forward because
of the litigation. We believe that's a good part of the intent of the suit, to slow our
business down."

Rimini Street expects to spend "millions and millions of dollars" to pay its legal counsel
in the case, he said. The company anticipated the suit and budgeted for the legal fees,
which it considers "an investment we are making to finally put this issue to rest."

The case is "critical on so many counts," said Ray Wang, partner with analyst firm
Altimeter Group.

"It's imperative that the rules of engagement for third-party maintenance be
established," Wang said. "That's the big question in the room. People want it. How can
you do it in a way that's respectful to Oracle's intellectual property rights and respectful
to the customer's rights? Right now, the rules are just murky."

"If anything (comes) out of all this, hopefully there are some rules of engagement that
are created," he added. "Right now customers are looking everywhere to cut costs."

If Rimini Street wins, the market for third-party maintenance will be a more welcome
prospect to other providers, he said. But if it loses, Oracle may have "shut out or stopped
people from thinking about this."
